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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:15CR3044
      vs.
                                                                 ORDER
NICOLE LYNN ZABEL,
                    Defendant.



      Defendant has moved to continue defendant’s change of plea hearing. (Filing No.
60). As explained by counsel, defense counsel cannot attend the hearing at the currently
scheduled date and time.      The motion to continue is unopposed.           Based on the
representations of counsel, the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)      Defendant’s motion to continue, (filing no. 60), is granted.

      2)     The defendant's plea hearing will be held before the undersigned magistrate
             judge on December 2, 2015 at 9:30 a.m.. The defendant is ordered to
             appear at this hearing.

      3)     For the reasons stated by counsel, the Court finds that the ends of justice
             served by continuing defendant's plea hearing outweigh the best interest of
             the defendant and the public in a speedy trial. Accordingly, the time
             between today's date and the district court judge's acceptance or rejection of
             the anticipated plea of guilty shall be excluded for speedy trial calculation
             purposes. 18 U.S.C. § 3161(h)(7).

      November 17, 2015.
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
